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4950-1
                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

CURTIS L. WYSE,                             ) CASE NO.: 8:22-cv-808
                                            )
               Plaintiff,                   )
                                            )
v.                                          )
                                            )
CALOOSA RIVER, INC., a Florida              )
Corporation,                                )
                                            )
               Defendant.                   )
                                            )

                            COMPLAINT FOR INJUNCTIVE RELIEF

         Plaintiff, CURTIS L. WYSE, an individual (“Plaintiff”), hereby sues Defendant,

CALOOSA RIVER, INC., a Florida corporation (“Defendant”), for injunctive relief

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. (“ADA”) and

the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”), and states and alleges

as follows:

                              PARTIES, JURISDICTION, AND VENUE

         1.    Plaintiff is an adult resident of Monroe County, Michigan and is otherwise

sui juris. As a person who is deaf, Plaintiff is an individual with a disability within the

meaning of the ADA.

         2.    Defendant is a corporation duly incorporated and existing under the laws

of the State of Florida and having its principal place of business in Lee County, Florida.

Defendant is registered with the Florida Secretary of State to conduct business in the State




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of Florida; regularly conducts business in the State of Florida, including Lee County,

Florida; and has violated the ADA in this State.

         3.    This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§

1331 and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181, et seq., based on

Defendant denying Plaintiff the opportunity to rent a boat because of his hearing loss in

violation of Title III of the ADA.

         4.    Venue is proper in this judicial district according to 28 U.S.C. § 1391,

because a substantial portion of the events giving rise to Plaintiff’s claims occurred in this

district, and Defendant’s conducts substantial activities within this district.

         5.    All conditions precedent to the commencement of this action, if any, have

been satisfied, discharged, or waived.

                      FACTUAL ALLEGATIONS AND CLAIM FOR
              VIOLAITONS OF TITLE III OF THE AMERICAN DISABILITES ACT

         6.    Plaintiff adopts, re-alleges, and incorporates by reference the allegations in

Paragraphs 1 through 5 as if set forth fully herein.

         7.    The ADA provides a clear and comprehensive national mandate for the

elimination of discrimination against individuals with disabilities. 42 U.S.C. § 12101(b)(1)

& (2).

         8.    The ADA requires that “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of

the services, programs, or activities of a public entity, or be subjected to discrimination

by any such entity.” 42 U.S.C. § 12132.


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         9.    This is an action against Defendant for violations of Title III of the ADA., 42

U.S.C. §§ 12181-12189, and its implementing regulations, 28 C.F.R. Part 36. Specifically,

Plaintiff, who is deaf, was denied the opportunity to rent a boat because of his hearing

loss.

         10.   Defendant operates a boat rental company in Cape Coral, Florida.

Defendant is a place of public accommodation covered by Title III of the ADA. See 42

U.S.C. § 12181(7)(E); 28 C.F.R. § 36.104. As a public accommodation, Defendant is

obligated to comply with the requirements of Title III of the ADA.

         11.   As a person who is deaf, Plaintiff is an individual with a disability within

the meaning of the ADA. See 42 U.S.C. § 12102; 28 C.F.R. § 36.104.

         12.   The ADA prohibits public accommodations from discriminating against an

individual on the basis of disability in the full and equal enjoyment of its goods, services,

privileges, advantages, or accommodations.             See 42 U.S.C. §§ 12182(a) and

12182(b)(1)(A)(i); 28 C.F.R. §§ 36.201(a) and 36.202(a).

         13.   On February 6, 2022, Defendant discriminated against Plaintiff by denying

Plaintiff the opportunity to rent a boat because of Plaintiff’s hearing disability.

         14.   Plaintiff intended to rent a boat from Defendant to spend the day on the

water with seven of his friends. Plaintiff’s friends agreed that Plaintiff should be the

person to operate the boat because of Plaintiff’s ownership of and experience in operating

boats.




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      15.    Plaintiff’s friend, April Hanus, booked the rental of a 20-foot hurricane deck

boat with Defendant on February 2, 2022, which Defendant confirmed by issuing a

booking receipt (the “Booking Receipt”) titled “Confirmed Order.” A true and correct

copy of the Booking Receipt is attached hereto as Exhibit “A.”

      16.    As an owner of a 30-foot boat, Plaintiff completed a boater’s safety course

in Michigan Plaintiff obtained a Michigan boating certificate on July 19, 2013, identified

by certificate number M7825070.

      17.    Plaintiff has driven his boat for many hours and has been stopped by U.S.

Coast Guard for a vessel safety inspection multiple times, with no violations being

discovered. During those safety inspection, the U.S. Coast Guard never indicated that

Plaintiff could not operate his boat due to his hearing disability or instruct him on how

to operate his boat. Plaintiff also has a U.S. Coast Guard emergency application on his

phone for emergency situations.

      18.    On the day of the incident, Defendant asked Plaintiff for a copy of his

driver’s license. When Defendant turned away from Plaintiff to make a copy of the

driver’s license, Defendant continued to communicate with Plaintiff. However, Plaintiff,

due to his hearing disability, could not understand what Defendant’s employee was

saying. As a result, Plaintiff informed Defendant’s employee of his hearing disability and

that Defendant’s employee needed to look directly at Plaintiff when communicating, so

that Plaintiff could lipread and understand what was being communicated to him.




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         19.   In response, Defendant automatically assumed that Plaintiff could not

operate the boat because Defendant believed that there was no way to review the boat

operations and navigation rules with Plaintiff due to Plaintiff’s hearing disability, even

though Plaintiff informed Defendant that he could successfully communicate if

Defendant was looking directly at Plaintiff.

         20.   Defendant further stated that it had to comply with Defendant’s policy and

that Plaintiff’s state issued boater’s certificate was insufficient evidence that Plaintiff

could operate a boat.

         21.   Plaintiff continued to inform Defendant that Plaintiff could communicate if

Defendant’s employee was looking directly at him.

         22.   Plaintiff tried to discuss the issue calmly, even reasoning with Defendant

that there would be six other passengers on the boat with no hearing disability but to no

avail.

         23.   Defendant discriminated against Plaintiff in violation of the ADA when it

denied Plaintiff the opportunity to rent the boat, which ruined Plaintiff’s vacation to

Florida.

         24.   Because Defendant denied Plaintiff the opportunity to rent a boat,

Defendant denied Plaintiff a full and equal opportunity to participate in, and benefit

from, Defendant’s goods, services, facilities, advantages, or accommodations within the

meaning of 42 U.S.C. §§ 12182(a) and 12182(b)(1)(A)(i); 28 C.F.R. §§ 36.201(a) and

36.202(a); and will continue to discriminate against Plaintiff and others with disabilities



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unless and until Defendant is compelled to remove all barriers that exist for the use and

enjoyment of Defendant’s services and goods, including those specifically set forth

herein.

       25.   Defendant’s practice of discrimination in not providing persons who are

deaf or hard of hearing the same services it provides to persons who are not deaf or hard

of hearing raises violates the public’s interest of ensuring equal access to goods and

services.

       26.   Plaintiff is without adequate remedy at law, is suffering irreparable harm,

and reasonably anticipates that he will continue to suffer irreparable harm unless and

until Defendant is required to remove ADA violations that exist at Defendant’s facility

for the use of Defendant’s goods and services as specifically set forth herein. The relief

requested serves the public interest and the benefit to Plaintiff and the public far

outweigh any detriment to Defendant.

       27.   Plaintiff has retained the undersigned counsel to represent him in this

matter and has agreed to pay reasonable attorney’s fees, costs, and expenses from

Defendant’s pursuant to 42 U.S.C. §§ 12205 and 12117, and Plaintiff is entitled to

attorney’s fees, costs, and expenses from Defendant.

       28.   Pursuant to 42 U.S.C. § 12188(a), this Court has the authority to grant

injunctive relief to Plaintiff, including an order that Defendant shall not discriminate

against any individual on the basis of disability in the full and equal enjoyment of

Defendant’s goods and services, facilities, privileges, advantages, or accommodations by



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excluding or providing unequal treatment to persons with disabilities and to alter or

draft, and implement written policies and procedures for the provisions of its goods and

services to persons with disabilities.

       WHEREFORE, Plaintiff, Curtis L. Wyse, respectfully requests that this Court issue

a permanent injunction enjoining Defendant from continuing its discriminatory practices,

ordering Defendant to alter its policies to make its services readily accessible to and

useable by individuals with disabilities to the extent required by the ADA, and award

Plaintiff his reasonable attorney’s fees, court costs, and expenses, and such other and

further relief in law or equity as this Court may deem just and proper.

       DATED: April 5, 2022.

                                         Respectfully submitted,

                                         THE CARLIN LAW FIRM, PLLC
                                         Attorneys for Plaintiff, Curtis L. Wyse
                                         Victoria Park Centre
                                         1401 E. Broward Boulevard, Suite 101
                                         Fort Lauderdale, Florida 33301
                                         Tel.: (954) 440-0901
                                         Primary e-mail: eservice@carlinfirm.com


                                         By:    /s/ Justin C. Carlin
                                                JUSTIN C. CARLIN, ESQUIRE
                                                Fla. Bar No.: 068429
                                                MARSHALL R. BERNER, ESQUIRE
                                                Fla. Bar. No.: 0117615
                                                Sec. e-mail: jcarlin@carlinfirm.com
                                                Sec. e-mail: mberner@carlinfirm.com
                                                Ter. e-mail: mpanico@carlinfirm.com




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